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   7
                                     UNITED STATES DISTRICT COURT
   8
   9                                CENTRAL DISTRICT OF CALIFORNIA

  10
       LUKE ZEMAN,                                         CASE NO. 2:13-cv-04990-DDP-E
  11
                      Plaintiff,
  12                                                       DECLARATION OF GERALD G.
              v.                                           KNAPTON IN SUPPORT OF
  13                                                       DEFENDANT'S OPPOSITION TO
       XTRA LEASE LLC, and DOES 1 through                  PLAINTIFF'S MOTION FOR
  14   10, inclusive,                                      ATTORNEY'S FEES; EXHIBITS "1"
                                                           THROUGH "11"
  15                  Defendants.
                                                           Hearing Date: September 19, 2016
  16                                                       Time: 10:00 a.m.
                                                           Courtroom: 3
  17                                                       Judge: Hon. Dean D. Pregerson
                                                           Complaint Filed: June 7, 2013
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   1                              DECLARATION OF GERALD G. KNAPTON

   2           1.        I, Gerald G. Knapton, make this declaration in support of Defendant XTRA Lease

   3   LLC's Opposition to Plaintiff LUKE ZEMAN's Motion for Attorney's Fees (the "Fee Motion")

   4   in Case No. 2:13-cv-04990-DDP-E. I am making this Declaration as an expert witness, based on

   5   matter (including my specialized knowledge, skill, experience, training and education) perceived

   6   by, or personally known to me, or made known to me that is of a type that may reasonably be

   7   relied upon by an expert in forming an opinion upon the subject to which my testimony relates.

   8                     I.     BACKGROUND AND QUALIFICATIONS OF EXPERT

   9           2.        My background, qualifications as an expert, and experience is more fully set forth

  10   in Exhibit 1 attached to this Declaration. I was educated at Brown University, U.C., Berkeley,

  11   and the School of Law at U.C.L.A. I am an attorney at law licensed to practice in the State of

  12   California since 1977, and I am admitted to all federal courts within California and the Court of

  13   Appeals for the Ninth and Third Circuits. I am a partner/shareholder of the law firm Ropers,

  14   Majeski, Kohn & Bentley, which has offices in Los Angeles (where I am based), San Francisco,

  15   Redwood City, San Jose, Las Vegas, Seattle, New York City, Boston, and Paris. I have been at

  16   Ropers Majeski since July 2002, and most of my time is spent as an expert for legal billing and

  17   ethical issues.

  18           3.        I have personally reviewed far over $4.0 billion dollars in legal fees and work

  19   product. I have reviewed hourly legal bills for professional services and supporting work product

  20   in many appeals and trials. Many of my fee matters are based on labor & employment law and

  21   included overtime claims arising out of disputes over the classification of employees, as well as

  22   "donning & doffing," lunch breaks calculations, timely payments of wages, wage statement

  23   information, unfair competition and similar claims as part of the litigation. I have also reviewed

  24   hourly legal bills and supporting work product in cases involving allegations of contract disputes,

  25   California Code of Civil Procedure § 1021.5 "private attorney general" claims, Fair Employment

  26   and Housing Act (FEHA) disputes, age and other kinds of discrimination, employment matters, as

  27   well as a vast assortment of other matt~rs such as banking disputes, employment retaliation

  28   claims, wage & labor matters, individual & class actions in statutory-interpretation matters,
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   1   pharmaceutical cases, "Brown Act" compliance matters, notice compliance matters (for "clean

   2   water act" and "catalyst" cases), accounting cases, "civil rights" cases, retail credit compliance

   3   litigation, truth in lending lawsuits, discrimination lawsuits, Fair Labor Standards Act (FLSA)

   4   lawsuits, and individual actions for a great variety of clients who have questions about the

   5   charges.

   6          4.      My past experience as an expert includes reviewing the bills and work product for

   7   requests for attorney fees. I have reviewed hundreds of motions to shift fees for cases where the

   8   legal work was trial courts and appellate courts, and in single-arbitrator or in panel arbitrations.

   9   Many of these motions were based on "attorney's fee provisions," codes, or statutes. I have also

  10   reviewed fees to determine the reasonableness of such fees, including for those to be submitted as

  11   part of a settlement or as part of a motion to shift fees. I have reviewed work product and actual

  12   legal bills for law firms, corporations, partnerships, insurance companies, cities, counties,

  13   trustees, and individuals for legal work in trial courts and for appellate work. My firm submits its

  14   legal bills to some clients via Tymetrix360, so I am familiar with that billing program.

  15           5.     I have also written and lectured on the issue of reasonableness and allocation of

  16   legal fees. I have been qualified, and testified, as an expert witness on attorney fees on more than

  17   50 occasions-including before both judges and juries in trials and in arbitrations.

  18                                  II.     FACTUAL BACKGROUND
  19          6.      I have reviewed the litigation files and fee application in this matter and

  20   understand the facts of this matter to be as follows.

  21          7.      On June 7, 2013 the Complaint commencing this action was filed in the Los

  22   Angeles County Superior Court, which alleged causes of action for: 1) Overtime, 2) Failure to

  23   Provide Meal Periods, 3) Failure to Furnish Accurate Wage Statements, and 4) Unfair

  24   Competition (B&P Code § 17200).

  25          8.      On November 14,2013, a First Amended Complaint ("FAC") was filed in the

  26   United States District Court, which alleged causes of action for: 1) Overtime, 2) Failure to

  27   Provide Meal Periods, 3) Failure to Furnish Accurate Wage Statements, 4) Unfair Competition

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   1   (B&P Code § 17200, and 5) Civil Penalties Under the Private Attorneys General Act of 2004

   2   (Labor Code § 2698).

   3           9.      A settlement package was offered by the Defendant in February of2014 but it was

   4   not accepted by the Plaintiff.

   5           10.     On June 23, 2014, Plaintiff filed and served a Motion for Partial Summary

   6   Judgment with supporting documentation seeking to establish that there was no merit to the

   7   Defendant's first six affirmative defenses. The Defendant filed and served its opposition papers

   8   on June 30, 2014 and Plaintiff filed and serviced his Reply papers on July 7, 2014.

   9           11.     By Order dated August 5, 2014, this Court held as follows:

  10                   In light of questions of material fact with respect to Plaintiffs job duties and
                       responsibilities created by the proffered testimony of Freeman, King, and Hill,
  11                   Plaintiffs Motion for Partial Summary Judgment (Dkt. No. 38) is DENIED
                       without prejudice.
  12
               12.     Pursuant to stipulation of the parties the Court bifurcated the trial. The first phase
  13
       was a three-day jury trial on March 3-5, 2015 which only addressed Plaintiffs claim for
  14
       overtime compensation and the Defendant's affirmative defenses applicable to that claim. At the
  15
       conclusion of this phase the jury found in favor of the Plaintiff and awarded him the full amount
  16
       of overtime compensation that he sought.
  17
               13.     Following this verdict, the parties were ordered to participate in a judicial
  18
       settlement conference that was held on November 6, 2015 regarding Plaintiffs remaining claims
  19
       for missed meal periods, wage statement violations and PAGA penalties, but they were not able
  20
       to resolve these claims.
  21
               14.     However, on April 22, 2016, Defendant served an offer of judgment pursuant to
  22
       Fed. R. Civ. Proc. 68, which Plaintiff accepted.
  23
               15.    On July 13, 2016, this Court entered the following Judgment:
  24                  Pursuant to the F.R. Civ. P. 68 Offer of Judgment made by DEFENDANT XTRA
                      LEASE LLC on April 22, 2016, which was accepted by PLAINTIFF LUKE
  25                  ZEMAN on April28, 2016, it is hereby ADJUDGED and ORDERED that
                      judgment is hereby entered in favor of LUKE ZEMAN and against XTRA LEASE
  26                  LLC on the following terms:

  27                   1. Payable to Plaintiff Zeman- Two Hundred Two Thousand Four Hundred
                          Sixty Five Dollars and Twenty-One Cents ($202,465.21);
  28
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                     . DECL AR r\.TION 0~ (;ERA LD G. KNAPTON IN !i!UPPORT 0~ DE~END ANT'!il OPPOfi!I+lll~T
                                        TO PLAINTIFF'S MOTION FOR ATTORNEY'S FEES
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   1                   2. Payable to non-party Trevor Opitz- One Thousand Eight Hundred Dollars and
                          No Cents ($1 ,800.00);
   2
                       3. Payable to non-party Brett Peterson - One Thousand Three Hundred Fifty
   3                      Dollars and No Cents ($1 ,350.00);

   4                   4. Payable to the California Labor and Workforce Development Agency- Fifteen
                          Thousand Seven Hundred Fifty Dollars and No Cents ($15,750.00);
   5
                       5. After entry of such Judgment, Plaintiff to move the court for payment of his
   6                      reasonable attorneys' fees and costs as permitted by law.

   7           16.     Pursuant to the judgment, Plaintiff subsequently filed his Motion for Attorney's

   8   Fees (the Fee Motion").

   9                                III.              THE FEE MOTION

  10           17.     On July 27, 2016, Plaintiffs counsel filed the instant Fee Motion. This Motion

  11   states in pe1iinent part as follows:

  12                   Plaintiffs attorneys have reasonably spent approximately 1,074 hours over
                       three years litigating this matter, obtaining full relief for Plaintiff and maximum
  13                   penalties for the State and other harmed individuals. At reasonable market rates,
                       and after exercising billing judgment, Plaintiffs resulting lodestar is $5 72,481.5 0.
  14                   Plaintiff is seeking reimbursement of reasonable out-of-pocket costs as well as an
                       upward adjustment to the lodestar using a multiplier of 1. 7, to account for the
  15                   contingent risk assumed by Plaintiffs attorneys and the complete success
                       achieved, representing a total fee request of$972,544.21. (Pages 5:20- 6:2.)
  16
                       In an exercise of billing judgment, Plaintiffs counsel removed 152.3 hours
  17                   from the fee request, to exclude hours that are excessive, redundant or otherwise
                       unnecessary. Keating Decl., ,-r 16; see Hensley v. Eckerhart, 461 U.S. 424, 434
  18                   (1983). (Page 7: 15-18.)

  19                  In addition to the attorney hours described above, Plaintiffs attorneys seek to
                      recover $17,525.66 in out-of-pocket costs they advanced to successfully litigate
  20                  the case. See Grove v. Wells Fargo Fin., Inc., 606 F.3d 577, 580 (9th Cir. 2010)
                      (nontaxable out-of-pocket costs that are normally billed to a client may be
  21                  recoverable as attorney's fees if they are ordinarily billed to a client and are not
                      included as overhead in the hourly rate). (Page 10:13-18.)
  22
                      Plaintiff is filing a separate Application to the Clerk to Tax Costs, pursuant to
  23                  Local Rule 54-2, to recover statutory costs. (Page 10, fn. 5.)

  24                  IV. CONCLUSION

  25                  Based on the foregoing, Plaintiff respectfully requests an award of attorney's
                      fees in the amount of$972,544.21, in order to compensate Plaintiffs attorneys for
  26                  the full market value of their work. (Page 12:16-18.)

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                      D~CL A R A TIOJN 01" CKR4.,LD C. KJNAPTOJN IlN SUPPORT OF D~FEJNDANT'S OPPOSITION-
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                        1                18.       Plaintiff has also filed and served the Declaration of Jennifer Keating in Support of

                       2      the Fee Motion, which states in pertinent part:

                       3
                                                  13. Plaintiff now seeks an award of reasonable attorney's fees in the amount
                       4                          of$972,544.21, representing $955,018.55 in fees and $17,525.66 for out-of-pocket
                                                  costs. The requested attorney's fee represents the lodestar fee for work reasonably
                       5                          and necessarily performed during more than three years of litigation, subject to a
                                                  fee enhancement using a multiplier of 1. 7 on all fees for work other than that
                       6                          related to the instant fee motion. I calculated the lodestar fee using the following
                                                  market rates, supported by the Declaration of Richard M. Pearl filed herewith and
                       7                          paragraphs 18-21 below:

                       8                          Biller                        Rate

                       9                          Jennifer Keating    $625
                                                  Elizabeth Gropman $31 0
                     10                           Paralegal/Law Clerk $200

                     11                                                 Summary of Contemporaneous Billing Records

                     12                           14. Attached hereto as Exhibit G is a chart that accurately summarizes the
                                                  lodestar fee, representing the total nutnber of hours worked by LC attorneys on the
                     13                           case, meaning those hours that could reasonably be billed to a fee-paying client.
                                                  Exhibit G shows the hours spent by each attorney and paralegal/law clerk on the
                     14                           case from its inception through July 25, 2016, and also shows the number of hours
                                                  spent by LC attorneys and staff in the aggregate by litigation task, multiplied by
                     15                           the current Los Angeles area market rate for her or his services. The hours
                                                  reflected in Exhibit G are documented by the contemporaneous time records
                     16                           maintained by LC after hours excluded in the exercise of billing judgment.

                     17                           15. The hours reflected in Exhibit G include time worked on this matter
                                                  between February 2013 and July 25, 2016. I anticipate LC attorneys will spend
                     18                           some number of additional hours working on this case in connection with
                                                  completing the briefing and hearing of this motion, and will submit a supplemental
                     19                           declaration and evidence with our reply brief on the instant motion in that regard.

                     20                           16. To prepare the summary chart attached as Exhibit G, I reviewed the
                                                  complete set of contemporaneous time records maintained by LC in TimeS lips (a
                     21                           time and billing software program) and assigned task-based billing codes to each
                                                  time entry. Exhibit H to this declaration is a listing of the task-based billing codes I
                     22                           used to perform this analysis. I then reviewed the time billed by each billing
                                                  attorney, paralegal and law clerk, and then exercised billing judgment to delete
                     23                           time entries that, in my professional judgment, were excessive, duplicative or
                                                  otherwise could not reasonably be billed to a fee-paying client. I deleted a total of
                     24                           152.3 attorney, paralegal and law clerk hours. Exhibit I to this declaration is a
                                                  spreadsheet that includes all of the remaining time entries for each billing attorney,
                     25                           paralegal and law clerk through July 25, 2016, organized in chronological order.

                     26                           17. It is the custom and practice of our firm to bill clients for work
                                                  performed in 6-minute increments. As a general rule, we do not "block bill," but
                     27                           instead bill time separately for each discrete task performed. Exhibit I identifies
                                                  the attorneys, paralegals and law clerks that performed each discrete item of
                     28                           service along with a description of the service performed, the time associated with
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              1                  perfonning that service, and the relevant rate. The attorneys, paralegals and law
                                 clerks that performed services on this case are identified in the time and billing
              2                  statements as follows: JK =Jennifer Keating; EO= Elizabeth Gropman; CC =
                                 Cate Coelho (paralegal); RP = Rosen1ary Pren1 (paralegal); AL =Alex Leenson
              3                  (law clerk).

              4                  18. When this case commenced three years ago, I was an associate at LC.
                                 Aaron Kauftnann was the partner who brought in the case and who I generally
              5                  reported to, while I was primarily responsible for handling all aspects of the
                                 litigation. In my exercise of billing judgment, I have cut all of Mr. Kaufmam1's
              6                  hours fro1n this request. I used paralegals and law clerks to perform discrete tasks
                                 that did not need to be performed by an attorney wherever reasonably possible. I
              7                  became a partner in the finn in July 2014. An associate, Elizabeth Gropman, was
                                 assigned to the case to assist with pretrial preparations and during the trial, so that
              8                  the pretrial and trial phases of the litigation were staffed by two attorneys. Ms.
                                 Gropman and I attempted to avoid duplication by dividing the work as 1nuch as
              9                  possible. To my knowledge, Defense counsel was represented by at least two
                                 attorneys during the pretrial phase, and by at least two attorneys and one paralegal
             10                  who were present during the trial. The approximately 1,074 hours worked on this
                                 case were reasonable and necessary in my view. I believe the litigation was
             11                  handled efficiently and with appropriate staffing ....

             12                                                   Out-of-Pocket Costs

             13                  22. In addition to the attorney hours described above, Plaintiff seeks to
                                 recover $17,525.66 in out-of-pocket costs advanced by LC which are not normally
             14                  included in a statutory bill of costs, such as non-deposition-related travel,
                                 mediations costs, messenger and shipping charges and deposition videos. Exhibit J
             15                  to this declaration is a detailed summary of these out-of-pocket costs incurred.
                                 Attached to Exhibit J are the supporting documents maintained by LC to support
             16                  those costs.

             17
                          19.    We have reviewed the timekeeper hours information of Exhibits G, H and I
             18
                  attached to the Keating Declaration and tried to reconcile the numbers reflected in each such
             19
                  Exhibit. Unfortunately, they do not match up.
             20
                         20.     Specifically, Ms. Keating states that the "hours reflected in Exhibit G are
             21
                  documented by the contemporaneous time records maintained by LC after hours excluded in the
             22
                  exercise of billing judgment." Exhibit G reflects 1,074.7 hours resulting in a lodestar fee of
             23
                  $572,481.50.
             24
                         21.     However, Ms. Keating also states that "I deleted a total of 152.3 attorney,
             25
                  paralegal and law clerk hours. Exhibit I to this declaration is a spreadsheet that includes all of the
             26
                  remaining time entries for each billing attorney, paralegal and law clerk through July 25, 2016,
             27
                  organized in chronological order." This is presumably the "contemporaneous time records
             28
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~~~~-~~-~~~~~~~~<ithA:Rt\TION OF GERALD C. KNAPTON IN SUPPORT OF DEFENDANT'S OPPOSITION                    ·
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   1   maintained by LC after hours excluded in the exercise of billing judgment" which support Exhibit

   2   G.

   3          22.     We have entered all of the time billing entries that appear on Ms. Keating's

   4   Exhibit I into a MS Excel spreadsheet which is attached hereto as Exhibit 6, which shows the

   5   total hours to be 1,025.6 resulting in fees of $551,517.50 using the face rates requested or shown.

   6          23.     The difference between Ms. Keating's totals reflected in her Exhibit G and Exhibit

   7   I is therefore 49.1 hours. However, this discrepancy is partially explained by the fact that Ms.

   8   Keating includes 41.6 hours in Exhibit G for the instant Fee Motion, which is not supported by

   9   any of the individual time billing entries in Exhibit I. That leaves a discrepancy of 7.5 hours

  10   between the two Keating Exhibits which we have not been able to reconcile.

  11          24.     As discussed below, "when a lawyer seeks to have his adversary pay the fees of

  12   the prevailing party, the lawyer must provide detailed records of the time and services for which

  13   fees are sought." (Hensley v. Eckerhart, 461 U.S. 424,440-41 (1983) (Burger, C.J., concurring)).

  14          25.     Therefore, because Plaintiffs counsel has chosen to not submit any actual time

  15   billing entries in support of the instant Fee Motion, and is seeking an additional 7.5 hours that is

  16   also not supported by actual time billing entries, I do not believe that Plaintiff can recover for

  17   these hours.

  18          26.     I have therefore used as my starting point the totals reflected by Plaintiffs actual

  19   time billing entries as reflected in Ms. Keating's Exhibit I. This reduces the total fee request as

  20   follows:

  21          Exhibit G Balance               Unsupported Time                Exhibit I Balance

  22          $572,481.50                     -$20,964.00                    $551,517.50

  23          27.     In addition, Ms. Keating represents that all time for senior partner Aaron Kaufman

  24   ("ADK") has been deleted from this Fee Motion. (Declaration of Jennifer Keating, page 7:13-

  25   17.) However, our review of the actual bills filed in support of the Fee Motion indicates that time

  26   billing entries for ADK remain in Ms. Keating's Exhibit I. We have therefore eliminated all time

  27   recorded by Mr. Kaufman, which is reflected in Exhibit 11 attached hereto.

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   1          28.     This adjustment reduces the fees sought in the Fee Motion as follows:

   2          Previous Balance               Kaufman Charges                 Adjusted Balance

   3          $551,517.50                    -$18,197.50                     $533,320.00

   4
                                 IV.     THE FEE-SHIFTING AUTHORITY
   5
              29.     It is essential for me to examine the fee-shifting authority being asserted in a fee-
   6
       shifting proceeding because that often affects the analysis I need to perform in order to assist the
   7
       Court. The papers I have reviewed indicate that plaintiff seeks to recover his attorneys' fees
   8
       pursuant to Local Rule 54-10, PAGA and California Labor Code§§ 1194(a) and 2699(g)(1).
   9
       This authority provides as follows:
  10

  11                  L.R. 54-10 Filing Date for Requests for Attorneys' Fees. Any motion or
                      application for attorneys' fees shall be served and filed within fourteen (14) days
  12                  after the entry of judgtnent or other final order, unless otherwise ordered by the
                      Court. Such motions and their disposition shall be governed by L.R. 7-3, et seq.
  13
                      Cal. Labor Code § 1194. Recovery by employee of unpaid balance of full
  14                  amount of minimum wage or overtime compensation

  15                  (a) Notwithstanding any agreement to work for a lesser wage, any employee
                      receiving less than the legal minimum wage or the legal overtime compensation
  16                  applicable to the employee is entitled to recover in a civil action the unpaid
                      balance of the full amount of this minimum wage or overtime compensation,
  17                  including interest thereon, reasonable attorney's fees, and costs of suit.

  18                  Cal. Labor Code § 2699. Recovery of civil penalty for Labor Code violation
                      through civil action brought by aggrieved employee; Amount of penalty;
  19                  Attorney's fees and costs; Limitations; Distribution of penalties recovered;
                      Provision of specified items to agency; Approval of settlement by superior
  20                  court; Applicability; Regulations ...

  21                  (g)
                       (1) Except as provided in paragraph (2), an aggrieved employee may recover the
  22                  civil penalty described in subdivision (f) in a civil action pursuant to the
                      procedures specified in Section 2699.3 filed on behalf of himself or herself and
  23                  other current or former employees against whom one or more of the alleged
                      violations was committed. Any employee who prevails in any action shall be
  24                  entitled to an award of reasonable attorney's fees and costs, including any filing fee
                      paid pursuant to subparagraph (B) of paragraph (1) of subdivision (a) or
  25                  subparagraph (B) of paragraph (1) of subdivision (c) of Section 2699.3. Nothing in
                      this part shall operate to limit an employee's right to pursue or recover other
  26                  remedies available under state or federal law, either separately or concurrently
                      with an action taken under this part.
  27
  28
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                                                                                 'S OPPOSITION
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   1           30.        It is my understanding that .i{the Court determines that the conditions of this

  2    authority have been satisfied, then the traditional lodestar approach is applied to determine

  3    reasonable & necessary fees. The lodestar is calculated by assen1bling the reasonable tin1e and

  4    applying the reasonable hourly rates in the community for noncontingent litigation of the same

  5    type, pursuant to the relevant and settled law for fee-shifting as I know it:

  6                       We approved the calculation of attorney fees beginning with a lodestar figure

  7                       based on the reasonable hours spent, multiplied by the hourly prevailing rate

  8                       for private attorneys in the community conducting noncontingent litigation of

  9                       the same type. (Ketchum v. Moses (2001) 24 Ca1.4th 1122, 1133 [104

 10                       Cal.Rptr.2d 377, 17 P.3d 735].) (emphasis supplied)

 11                                      v.       HOURLY RATE ANALYSIS

 12            31.        The Fee Motion and its supporting papers request compensation at the following
 13    hourly rates:
 14                       Biller                  Rate

 15                       Jennifer Keating    $625
                          Elizabeth Gropman $31 0
 16                       Paralegal/Law Clerk $200

 17            32.        I have therefore examined the firm's bills regarding the rates requested, and

 18    compared those rates with the objective evidence of non-contingent hourly rates in the

 19    community for the same type of litigation as discussed below.

 20            Sources of Hourly Rate Data

 21            33.        Over the many years of my work reviewing legal invoices I have seen thousands

 22    of invoices by many law firms and I have noticed that the actual rates that the firms charge and

 23    that real clients pay are often not the same as plaintiffs' contingency rates or the national firm

 24    rates for all manner of legal work that are published in "surveys" of rates, so I have become

 25    reluctant to rely upon just those requests or the rather broad surveys if better data is available.

 26    Thankfully that has finally happened.

 27            34.        In the last few years two sources of actual prevailing rates that I have found to be

 28    very useful have become available: The Real Rate Report (Wolters Kluwer) and the Legal Billing
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   1   Reports (Tho1nson-Reuters). I subscribe to these publications. They both asse1nble data on

  2    hourly rates that are actually paid by clients in the real world and those rates reflect what I also

  3    see in actual invoices for Los Angeles and other California litigation. The most recent Real

  4    Report is the 2015 version.

  5            35.     The 2015 Real Rate Report derives its data frmn LegalVIEW and the Tymetrix360

  6    program that thousands of law firms use to submit their electronic invoices to be paid. The latest

  7    report covers billings for legal work from 2012 to 2014 in a $9.8 billion dollar dataset of more

  8    than 4,500 lawyers and 151,000 timekeepers. I attach the entire 182-page Report including the

  9    scope and methods of the 2015 Real Rate Report hereto as Exhibit 2. This data is "anonymized"

 10    but (in the current iteration) is now broken down by several useful categories such as the type of

 11    matter, the court venue city, the size of the law firm and the category of timekeeper (partner and

 12    associate). Rate data for Labor & Employment litigation in Los Angeles is assembled in the Real

 13    Rate Report in the "Labor & Employn1ent" dataset which is defined at page 181 of Exhibit 2 to

 14    include Discrin1ination, Retaliation and Harassment/EEO and Compensation and Benefits

 15    litigation. (Please see page 181 of the Data Methodology pages included in Exhibit 2.) That is

 16    clearly the kind of litigation that is now at Bar.

 17            The Size of the Law Firms

 18            36.     While rates do vary depending on the location of the litigation and the subject

 19    matter of the work, it has been my experience that the hourly rates also vary by the size of the law

 20    firm. That variance is also clearly shown by the data assembled into five levels by hundreds of

 21    examples for partners and associates practicing employment law in Los Angeles at various size

 22    law firms.

 23            37.     The law firm representing the Plaintiff has 23 attorneys and is based in Oakland.

 24            38.     For ease of reference we attach as Exhibit 3 is a copy of page 128 of the 2015

 25    Real Rate Report that has 495 examples of actual rates paid for noncontingent Labor &

 26    Employment cases in Los Angeles at firms with 50 or fewer lawyers and for four other levels for

 27    rates at larger firms The rates for Labor & Employment legal work in Los Angeles for attorneys

 28    at firms with 50 or fewer attorneys is shown on page 128 for Partners as ranging from $240.00 in
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                            1
   1   the First Quartile to $367.00 in the Third Quartile. The median rate 2 is $325.00 per hour. The

  2    Associate hourly rate data is $190.30 for First Quartile to $275.00 for the Third Quartile with a

  3    Median rate of $225.00 per hour. This is also what I see actually paid for this type litigation and

  4    that is the rate structure that appears to be the non-contingent hourly rate for similar litigation in

  5    Los Angeles before any consideration of a multiplier.

  6             39.      Attached hereto as Exhibit 4 is a copy of page 18 of the 2015 Real Rate Report.

  7    The data on paralegal rates is assembled for six kinds of Labor & Employ1nent work but not quite

  8    as granular as the data for attorneys (as it does not provided the data by city or by size of law

  9    firm), but at page 18 the Rates for paralegal time for "Labor and Employment: Wages, Tips and

 10    Overtime I Litigation is as follows: $110.00 per hour for the First Quartile to $196.50 for the

 11    Third Quartile and a Median rate of $148.40, before any consideration of a 1nultiplier for any

 12    reason. That is based on 72 examples.

 13             40.      The following table reflects the rates for lawyers and paralegals set forth in

 14        attached Exhibits 3 and 4:

 15
       Category                         First Quartile                  Median                     Third Quartile
 16    Partners                         $240.00                         $325.00                    $367.00
 17    Associates                       $190.30                         $225.00                    $275.00
       Paralegals                       $110.00                         $148.40                    $196.50
 18
                41.      Because the instant litigation is a typical employment matter being handled by a
 19
       firm with less than 50 attorneys, it is my opinion that the median rates set forth above are the
 20
       relevant noncontingent hourly rates applicable to reasonable time allowed for this matter.
 21
 22             One other cross-check on rates:

 23             42.      The well-known "Laffey Matrix" derived its name from a seminal case. Laffey v.

 24    Northwest Airlines, Inc., 572 F. Supp. 354 (D.D.C.1983), affd in part, rev'd in part on other

 25    grounds, 746 F.2d 4 (D.C. Cir. 1984), cert. denied, 472 U.S. 1021 (1985). This is a free resource

 26
       1
         Quartiles are values that divide a set of data into four equal parts.
 27    2
         To fmd the median, one arranges the rate observations in order from smallest to largest value. If there is an odd
       number of observations, the median is the middle value. If there is an even number of observations, the median is
 28    the average of the two middle values.
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                        ~~.m    ~   ~T~~T OF GERALD G; KNAPl'ON IN SUPPORl' OF DEFENDANT'S OFFOSITION
                                          TO PLAINTIFF'S MOTION FOR ATTORNEY'S FEES
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   1   published each year by the U.S. Attorney's office for the District ofColurnbia. It offers tiered

  2    rates for lawyers, differentiated according to their years of experience. It offers only one set of

  3    rates without differentiation for the kind of legal work involved or for the size of the law firn1.

  4    Some courts use this and smne do not. It is helpful in sorne situations, but perhaps not as relevant

  5    as the Real Rate Report data as the Laffey Matrix has no differential according to kind of

  6    litigation and nothing based on the size of the law firm. It is not based on actual paid rates.

  7            43.       The name of the Laffey Matrix has recently been changed to the USAO Attorney's

   8   Fee Matrix. Attached hereto as Exhibit 5 is a true and correct copy of the USAO Attorney's Fee

  9    Matrix for 2015-2016. (Available at: http://www.justice.gov/usao-dc/file/796471/download.)

 10            44.       These rates are accepted in the Washington, D. C. area courts as one factor to

 11    consider when setting fees. Some courts in other areas also use this Matrix, but those courts are

 12    required to make adjustments to take into account the cost of a local lawyer's time. One simple

 13    way to take into account the cost of a local lawyer's tirne is to use federal wage data (available at

 14    www.bls.gov/oes) to establish other cities' average wages for lawyers, as compared to that of the

 15    District of Columbia. Garnes v. Barnhardt, No. C 02-4428 VRW, 2006 WL249522, at *7 (N.D.

 16    Cal. Jan. 31, 2006); see also Chane!, Inc. v. Doan, 2007 WL 781976, at *6-7 (N.D. Cal. Mar. 13,

 17    2007); Syers Props. III, Inc. v. Rankin, 226 Cal. App. 4th 691, 702 (2014). Therefore, the

 18    USAO/Laffey Matrix data for the District of Columbia needs to be adjusted upwards or

 19    downwards to apply to the local venue. Again, the Bureau of Labor Statistics publishes lawyer

 20    and paralegal wage data for many locations that make it easy to see how the cost of legal services

 21    varies by city.

 22            45.       Attached hereto as Exhibit 6 are two pages that I printed from the website

 23    www.bls.gov/oes regarding federal wage data for lawyers and paralegals for the Washington,

 24    D.C. area and the Los Angeles area. As reflected by this Exhibit, the USAO Attorney's Fee

 25    Matrix Rates adjusted for the Los Angeles area are as follows:

 26            Adjustment for Lawyers:

 27            Los Angeles- Hourly mean wage= $83.22
               D.C- Hourly mean wage= $80.09
 28
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                 ~~ .. ~ .. ~ Dl!:CLAltATION OF Gl!:ltALD G; KNAPTON IN StrrPOitT OF DJ!:FENDANT'S OPPOSITION
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   1          The ratio of$83.22 I $80.09 means that the rates for Los Angeles would be approximately
              104°/o of the USAO Attorney's Fee Matrix rates.
  2
              Adjustn1ent for Paralegals and Legal Assistants:
  3
              Los Angeles- Hourly rnean wage= $28.49
  4           D.C- Hourly mean wage= $33.44
              The ratio of $28.49 I $33.44 n1eans that the rates for Los Angeles would be approximately
  5           85.20°/o of the USAO Attorney's Fee Matrix rates.
  6           The following chart shows the adjusted USAO Attorney's Fee Matrix rates:

  7                 Experience 2015-16              D.C. Rate               L.A. Rate
                    31 +years                       $568                    $590.72
  8                 21-30 years                     $530                    $551.20
                    16 to 20 years                  $504                    $524.16
  9                 11-15 years                     $455                    $473.20
                    8-10 years                      $386                    $401.44
 10                 6-7 years                       $332                    $345.28
                    4-5years                        $325                    $338.00
 11                 2-3 years                       $315                    $327.60
                    Less than 2 years               $284                    $295.36
 12                 Paralegals & Law Clerks         $154                    $131.20
 13
              The Various Rates Applied to These Timekeepers:
 14
 15           46.      The following table lists the rates being requested by Plaintiff's counsel as

 16    compared to the objective evidence of the Real Rate Report's Labor and Employment practice

 17    area median rates and the Los Angeles adjusted rates shown in the USAO Attorney's Fee Matrix:
 18
                                     Bar Admit
 19                                  Date/
                                     Experience
 20
 21                                  11/312007
 22                                  8 years
                    Partner
 23                 Beginning on
                    811/2014
 24                 Jennifer G.      11/312007     $625.00          $225.00       NIA           $345.28
                    Keating (JK)
 25                                  6 years
                    Associate
 26                 Before
                    811/2014
 27
 28                 Elizabeth R.     12/1312013    $310.00          $225.00       NIA           $327.60
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  1                  Gropn1an (EG)
                                    2 years
  2                  Associate
                     Paralegals/Law N/A                    $200.00                       N/A          $148.40               $131.20
  3                  Clerks (CC,
                     RP and AL)
  4
  5
              4 7.      Because the hourly rates requested by Plaintiffs counsel are not within the general
  6
      range of the rates that I have seen actually paid or reflected by the 2015 Real Rate Report or even
  7
      the USAO Attorney's Fee Matrix, I have adjusted the attorneys' rates using the "Median" rates
  8
      contained in the 2015 Real Rate Report because of the comprehensive and practice-specific
  9
      nature of this database for actual non-contingent hourly rates as explained above. The rates that I
 10
      have applied are set forth in bold and italicized type in the table above.
 11
              48.       This adjustment reduces the fees sought in the Fee Motion as follows:
 12
              Previous Balance                     Rate Adjustment                             Adjusted Balance
 13
              $533,320.00                          -$275,528.46                                $257' 791.54
 14
 15                  VI.    THE FEES SOUGHT BY THIS MOTION ARE EXCESSIVE

 16           49.       It is my opinion that the time-billing entries discussed below were excessively

 17   billed. I partially base this opinion on the following analysis by the U.S. Bankruptcy Court: "In

 18   other cases this Court has previously disallowed hours billed in excess of9.0 hours in any one

 19   day. There are a variety of reasons for doing so, including the Court's perception that efficiency

 20   suffers greatly when parties are repeatedly billing in excess of nine hours per day. Additionally,

 21   having had private practice experience and fully understanding what it takes to bill an 'honest

 22   hour,' I question any bill where a party appears to be seeking to attribute every hour spent at work

 23   to a client." (In re Maruko Inc., 160 B.R. 633, 640 (Bankr. S.D. Cal. 1993) (emphasis added).) I

 24   also base this opinion on my own personal experience, which confirms the Court's observation

 25   that time billed by an attorney in excess of 9.0 hours a day is significantly less efficient than time

 26   billed during a regular 8 hour day. However, I have considered each time billing entry

 27   individually and have not rigidly included entries reflecting any specific number of hours billed

 28   in a single day in this category.
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                               .J.J.Vl"CVJ:'       'IJ.~"Cft.£J.Vl"C.LJ"Ck)UC.£VI'.J.   VI'     .'IJ. k)V.£.£V.:)J.J.J.Vn

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   1             50.   My analysis of the time billing entries filed in support of the Fee Motion has

   2   revealed the following examples of such excessive billing.

   3             51.   On 2/23/2015, EG billed 10.3 hours for work described as "Pre-trial Conference

  4    before the court; Draft trial brief."

   5             52.   On 3/1/2015, EG billed 12.2 hours for work described as "Trial preparation;

   6   Witness preparation with LZ; Draft JMOL."

   7             53.   On 3/1/2015, JK billed 12.3 hours for work described as "Prepare for trial

   8   (including witness prep and preparing opening statement)."

  9              54.   On 3/2/2015, JK billed 10.6 hours for work described as "Prepare for trial

 10    (including witness prep and preparing opening statement)."

 11              55.   On 3/3/2015, EG billed 16.3 hours for work described as "Trial; Draft JMOL."

 12              56.   On 3/3/2015, JK billed 14.7 hours for work described as "Attend trial

 13    commencement, where jury selected, opening statements made and first witness commenced; and

 14    prepare for trial continuation, i.e., preparing for cross-examination and for plaintiffs case-in-

 15    chief."

 16              57.   On 3/4/2015, EG billed 18.7 hours for work described as "Trial; Prep for Zeman

 17    testimony and closing."

 18              58.   On 3/4/2015, JK billed 18.8 hours for work described as "Attend second day of

 19    trial, where defense completed its case, plaintiff made motion for judgment as a matter of law and

 20    began case-in-chief, and parties met in chambers, finalized jury instructions; and prepared for trial

 21    continuation, preparing for continuation of plaintiffs case-in-chief and closing statements."

 22              59.   In addition, my review of the charges for the initial research and preparation of

 23    Plaintiffs Motion For Partial Summary Judgment were excessive. Please see Exhibit 9 attached

 24    hereto which lists all such billing entries.

 25              60.   Plaintiff selected a Bay Area law firm Leonard Carder, LLP, which has offices in

 26    San Francisco and Oakland. Plaintiff made that choice despite the fact that there are many local

 27    law firms in the Los Angeles area who could have represented him in this matter. It is therefore

 28    my opinion that Plaintiff incurred excessive and unnecessary travel costs as the result of his
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       I

   1       decision to retain a Bay Area finn instead of a local Los Angeles firn1. The time billed for this

  2        excessive travel is reflected in the following table:

  3
  4            Date           Hours Billed                             Billing Description

  5        9/23/2013      8.2                 return travel to Los Angeles and attend CMC

  6        2/7/2014        17.8               return travel to Los Angeles and attend mediation

  7        3/27/2014      3.5                 travel to Los Angeles for deposition

  8        3/28/2014      5.0                 return travel from LA following deposition
                                              travel to Ontario for depositions (4.5); telephone conference with
  9        4/2/2014       9.7                 LZ (.8); prepare for depositions (4.4)
                                              taking deposition of Joe Newfield (3.4); and return travel from
 10        4/4/2014       7.9                 Ontario (4.5)
                                              travel to and from Redlands, CA (6.8); attend continuation of
 11        4111/2014      9.6                 Luke Zeman's deposition (2.8)
 12        7/21/2014       12.3               return trip to LA and attend summary judgment hearing
 13        7/25/2014       10.3               return travel to LA and attend motion to con1pel hearing
                                              travel to Orange and take depositions of two Operations
 14        1116/2014       13.1               Managers
 15                                           prepare for and take deposition of Operations Manager and
           11/7/2014      8.3                 return travel from Orange
 16        2/22/2015      3.7                 Travel to Los Angeles for pretrial conference
 17        2/22/2015      3.2                 Travel to Los Angeles
 18                                           Return from LA following pretrial conference and Plaintiff prep
           2/24/2015      3.4                 meeting
 19        2/25/2015      3.0                 Travel from LA to SF
 20        2/27/2015      3.6                 Travel to LA for trial prep meeting with court clerk
 21
           2/27/2015      3.0                 Travel to LA
 22
           3/6/2015       3.8                 Return to San Francisco following conclusion of trial.
 23
           7/16/2015      6.8                 Return travel to Los Angeles and attend CMC.
 24
           1116/2015      15.5                Return travel to LA and attend settlement conference.
 25
                  61.     The foregoing are only examples of excessive billing by Plaintiffs counsel. For a
 26
           complete listing of all such billing entries please see Exhibit SE attached hereto.
 27
 28
           4829-2367-8262.1                                 - 17 -
                          DE CLARA liOl"fOF GERALD G. K'NAPTON IN SUPPORT OF DEFENDAN I 'S OPPOSI IION   ~
                                          TO PLAINTIFF'S MOTION FOR ATTORNEY'S FEES
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   1
   2          62.     I respectfully submit for the Court's consideration the following analysis regarding

   3   the time billing entries filed in support of the Fee Motion.

  4           63.     The Chief Justice of the United States has recognized that in the context of fee-

   5   shifting motions, the prevailing attorneys seeking to recover their fees from the losing party have

  6    a heightened duty to provide clear, convincing and detailed explanations of their charges:

   7                  I read the Court's opinion as requiring that when a lawyer seeks to
                      have his adversary pay the fees of the prevailing party, the lawyer
  8                   must provide detailed records of the time and services for
  9                   which fees are sought. It would be inconceivable that the
                      prevailing party should not be required to establish at least as much
 10                   to support a claim under 42 U.S. C. § 1988 as a lawyer would be
                      required to show if his own client challenged the fees. A district
 11                   judge may not, in my view, authorize the payment of attorney's fees
                      unless the attorney involved has established by clear and
 12                   convincing evidence the time and effort claimed and shown that
 13                   the time expended was necessary to achieve the results obtained.

 14                   A claim for legal services presented by the prevailing party to the
                      losing party pursuant to § 1988 presents quite a different situation
 15                   from a bill that a lawyer presents to his own client. In the latter
                      case, the attorney and client have presumably built up a relationship
 16
                      of mutual trust and respect; the client has confidence that his lawyer
 17                   has exercised the appropriate 'billing judgment,' and unless
                      challenged by the client, the billing does not need the kind of
 18                   extensive documentation necessary for a payment under§ 1988.
                      That statute requires the losing party in a civil rights action to bear
 19                   the cost of his adversary's attorney and there is, of course, no
                      relationship of trust and confidence between the adverse
 20
                      parties. As a result, the party who seeks payment must keep
 21                   records in sufficient detail that a neutral judge can make a fair
                      evaluation of the time expended, the nature and need for the
 22                   service, and the reasonable fees to be allowed. Hensley v.
                      Eckerhart, 461 U.S. 424, 440-41 (1983) (Burger, C.J., concurring)
 23                   (emphasis added).
 24           64.     In order to analyze whether the moving party has provided sufficiently detailed,

 25    "clear and convincing" records of the time and services for which fees are sought in this case, we

 26    have examined all bills filed in support of the Fee Motion.
 27
 28
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  1          65.        I, along with others working under n1y supervision, have therefore proceeded to

  2   analyze the actual time billing entries set forth in the invoices filed in support of the Fee Motion.

  3   In order to perfonn this work, we have entered each ti1ne billing entry into a Microsoft Excel

  4   spreadsheet database that was prepared under 1ny supervision and control. A true and correct

  5   copy of this cmnplete database report is attached hereto as Exhibit 7. We have arranged the ti1ne

  6   entries of all the timekeepers in chronological order, and have added only the comn1ents to the

  7   right of the colu1nn labeled "Description."

  8          66.        The tin1e billing entries included in Exhibit 7 have been coded using the six

  9   columns on the right side of the page labeled A to E. An "x" in a line under a column may be

 10   understood according to this key as follows:

 11                     A= Administrative work;
                        B =Block billing;
 12                     C =Vague descriptions;
                        D = Duplicative work; and
 13                     E =Excessive time

 14          67.        Attached hereto as Exhibits 8B - 8E are true and correct copies of additional

 15   spreadsheet analyses. In order to perform our analysis reflected in these Exhibits, we began by

 16   identifying all entries that had an "x" placed next to them. Each entry with its appropriately

 17   marked "x" was then placed into its corresponding spreadsheets which are Exhibits 8A - 8E.

 18          68.        In order to avoid placing a time billing entry into multiple categories, which would

 19   result in "double dipping" by taking multiple deductions for the same billing entry, we carefully

 20   identified those billing entries that belonged in two or more possible categories. We then made a

 21   copy of Exhibit 7, and deleted all checked boxes indicating objectionable categories except for

 22   one such box for each entry. For example, if a single time billing entry had lines in both column

 23   A and B checked, we retained the check for the line in column A but deleted the check for the line

 24   in column B. Thus, we carefully performed our analysis in order to avoid adjusting the charge for

 25   an entry twice.

 26          69.        My analysis as supported by Exhibits 8A- 8E is presented in non-alphabetical

 27   order. Employing the methodology described above, I have adjusted the bills filed in support of

 28   the Fee Motion as follows:
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                                                                        FKNDANT'S OPPOSITION
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  1                   A= Administrative work= 100% deduction (No such entries);
                      D =Duplicative work= 100°/o deduction (Exhibit 8D);
  2                   E = Excessive ti1ne billed= 40% deduction (Exhibit 8E);
                      C =Vague descriptions = 30% deduction (Exhibit 8C); and
  3                   B = Block-billed descriptions = 30% deduction (Exhibit 8B).

  4
            Column "A"- Administrative Work
  5
              70.     We have carefully reviewed all billing entries filed in support of the Fee Motion in
  6
      order to determine whether Plaintiff's counsel is seeking to recover for any such work.
  7
              71.     In my experience, billing entries reflecting administrative work should not be paid.
  8
      This includes work such as contacting the court regarding scheduling matters, which should be
  9
      performed by secretaries or other non-billing firm personnel. Such work should not be billed to
 10
      the client in the usual attorney-client relationship, and should therefore not be included in a fee-
 11
      shifting n1otion.
 12
              72.     As reflected in Exhibit 7 attached hereto, Plaintiff counsel is not seeking to recover
 13
      for any such work. Therefore, we have made no adjustn1ents based on this factor.
 14
 15
              Previous Balance               Column "A"             Adjusted Balance
 16           $257,791.54                    -$0.00                 $257,791.54
 17         Column "D" -Duplicative Work (Exhibit 8D)
 18           73.     All time billing entries that were appropriately marked in Column "D" of Exhibit 7
 19   were placed in Exhibit 8D, a true and correct copy of which is attached hereto.
 20           74.     The billing entries that have been placed in Exhibit 8D reflect billable hours that
 21   appear to constitute the appearances of two attorneys in connection with motion hearings and
 22   "meet and confer" sessions that should have only required one attorney given the many years of
 23   experience of Mr. Zeman's counsel in the Labor & Employment practice area.
 24           75.     This adjustment reduces the allowable fees as reflected below in the "Adjusted
 25   Balance" column.
 26           Previous Balance               Column "D"             Adjusted Balance
 27           $257,791.54                    -$2,227.50              $255,564.04
 28
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             ~'"JJECLARA liON OF GERALD G.KNAP I ON IN SUPPORT OF DE'FENDAN I    S OPPOSITION ~
                                    TO PLAINTIFF'S MOTION FOR ATTORNEY'S FEES
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   1 C.     Column "E"- Excessive Time (Exhibit 8E)

  2           76.    All time billing entries that were appropriately marked in Column "E" of Exhibit 7

  3   were placed in Exhibit 8E, a true and coiTect copy of which is attached hereto.

  4           77.    The federal courts have disallowed billing for attorneys when their billable hours

  5   exceed 9.0 hours in a single day:

  6                  Finally, Attorney 1 lists two days on which she claims to/have
                     billed 11.5 and 11.2 hours, respectively. In my letter of July 16,
  7                  1993, awarding fees and costs to Deloitte and Touche, accountants
  8                  in this case, I observed:

  9                  In other cases this Court has previously disallowed hours billed in
                     excess of9.0 hours in any one day. There are a variety of reasons
 10                  for doing so, including the Court's perception that efficiency suffers
                     greatly when parties are repeatedly billing in excess of nine hours
 11                  per day. Additionally, having had private practice experience and
                     fully understanding what it takes to bill an 'honest hour,' I question
 12
                     any bill where a party appears to be seeking to attribute every hour
 13                  spent at work to a client. Accountants and attorneys are human
                     beings, and not every moment of the working day is productive and
 14                  billable. Finally, Deloitte's application in its response was silent as
                     Jo any justification for the repeated 'high billed' days. No
 15                  emergency (other than self-created) was shown to exist which
 16                  might justify the charges in some cases. In re Maruko Inc., 160
                     B.R. 633, 640 (Bankr. S.D. Cal. 1993).
 17
 18          78.     My own experience confirms the observations of the In re Maruko court because

 19   an attorney's efficiency decreases dramatically for time billed in excess of 9. 0 hours per day.

 20   However, I have considered each time billing entry individually and have not rigidly included

 21   entries reflecting any specific number of hours billed in a single day in this category. Time

 22   billing entries in this category therefore reflect what clearly appears to be excessive time billed

 23   for reviewing and preparing documents, as well as conducting legal research in light of counsel's

 24   many years of experience and specialization in the Labor & Employment practice area. (See

 25   State Bar of California's Committee on Mandatory Fee Arbitration, Arbitration Advisory 98-03,

 26   Determination of a "Reasonable" Fee (June 23, 1998); State Bar of California's Committee on

 27   Mandatory Fee Arbitration, Arbitration Advisory 03-01, Detecting Attorney Bill Padding

 28   (January 29, 2003).)
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                    DECLARATION OF GERALD G. KNAPTON IN SUPPORT OF DEFENDANT'S OPPOSITION~ -
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   1           79.    I have also included in this category the examples of excessive billing practices

  2    discussed above, along with other billing entries that in tny experience clearly appear to be

  3    excesstve.

  4            80.    All time billing entries that fell within this category were placed into Exhibit 8E,

  5    which again was carefully constructed in order to avoid tnultiple deductions for the san1e billing

  6    entry as explained above.

  7            81.    It is n1y opinion that a 40% deduction of the excessively billed entries appears is a

  8    rather conservative estin1ate of the percentage of time that was overbilled in light of my own

  9    experience and the authority set forth above-which discusses the inefficiency of attorney time

 10    billed in excess of 9.0 hours in a single day.

 11            82.    This adjustn1ent reduces the allowable fees as reflected below in the "Adjusted

 12    Balance" column.

 13                   Previous Balance                  Column "E"           Adjusted Balance

 14                   $255,564.04                       -$39,566.40          $215,997.64

 15          Column "C" - Vague Descriptions (Exhibit 8C)

 16            83.    All time billing entries that were appropriately marked in Column "C" of Exhibit 7

 17    were placed in Exhibit 8C, a true and correct copy of which is attached hereto.

 18            84.    Fee-shifting cases following Hensley, supra, and California Business &

 19    Professions Code § 6148 require that legal bills "clearly state the basis thereof." Providing

 20    "vague" billing descriptions deprives the client or fee auditor of the ability to accurately assess

 21    whether the attorney's billing entries reflect the performance of tasks that were reasonable and

 22    necessary. (White v. City ofRichmond, 713 F.2d 458, 461 (9th Cir. 1983) disapproved of on other

 23    grounds by Pa. v. Del. Valley Citizens' Council for Clean Air, 483 U.S. 711 (1987); see also In re

 24    Donovan, 877 F.2d 982,994 (D.C. Cir. 1989); New YorkAss'nfor Retarded Children v. Carey,

 25    711 F.2d 1136, 1148 (2d Cir. 1983).)

 26            85.    In the fee-shifting context, vague or missing information may relate to the

 27    participants and/or subject matter of meetings, telephone conferences or legal work product, as

 28    well as the ultimate purpose of such activity. Therefore, vague billing entries such as unexplained
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   1   n1eetings, conferences, emails and research warrant a reduction in the fees billed. (HJ, Inc. v.

  2    Flygt Corp., 925 F.2d 257, 260 (8th Cir. 1991); In Re Olson, 884 F.2d 1415, 1428-29 (D.C. Cir.

  3    1989); see also State Bar of California's Cmnn1ittee on Mandatory Fee Arbitration, Arbitration

  4    Advisory 98-03, Determination of a "Reasonable" Fee (June 23, 1998); State Bar of California's

  5    Committee on Mandatory Fee Arbitration, Arbitration Advisory 03-01, Detecting Attorney Bill

  6    Padding (January 29, 2003).) In addition, many ti1ne billing entries in this category were

  7    "REDACTED" to the extent that they are simply unintelligible, which of course precludes any

  8    meaningful analysis of whether or not they represent reasonable charges for legal services.

  9           86.      The total amount of fees that fall within Column "C" is shown in Exhibit 8C; this

 10    was carefully constructed in order to avoid 1nultiple deductions for the same time billing entry as

 11    explained above.

 12           87.      I have deducted 30% of such entries because in my experience the objectionable

 13    descriptions are simply too vague in the context of a fee-shifting motion.

 14           88.      This adjustment reduces the allowable fees as reflected below in the "Adjusted

 15    Balance" column.

 16                    Previous Balance               Column "C"             Adjusted Balance

 17                    $215,997.64                    -$19,402.81            $196,594.83

 18         Column "B" - Block Billing (Exhibit 8B)

 19           89.      All time billing entries that were appropriately marked in Column "B" of Exhibit 7

 20    were placed into Exhibit 8B, a true and correct copy of which is attached hereto.

 21           90.      In fee-shifting situations, block billed entries (also called "bundling," "lumping" or

 22    "aggregating") combine several discrete tasks into one block of time, which makes it impossible

 23    for myself or the Court to determine the exact amount of time spent on each task, and therefore

 24    whether the time billed is reasonable. Federal courts may reduce hours, and therefore fee awards,

 25    that are billed in block format. Welch v. Metro Life Ins. Co., 480 F .3d 942, 948 (9th Cir. 2007)

 26    (recognizing that district courts have the "authority to reduce hours that are billed in block

 27    format," but remanding for lower court to "explain how or why the reduction fairly balances"

 28    those hours).
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   1          91.     California state courts also disfavor block billing in fee-shifting matters. See

  2    Christian Research Institute v. Alnor, 165· Cal. App. 4th 1315, 1329 (2008) ["Similarly, counsel

  3    may not submit a plethora of noncon1pensable, vague, blockbilled attorney time entries ... "].

  4    Where an appropriate adjustment cannot be made because of block billing for recoverable and

  5    non-recoverable fees, a court may "exercise its discretion in assigning a reasonable percentage to

  6    the entries, or simply cast them aside." Bell v. Vista Unified School Dist., 82 Cal. App. 4th 672,

  7    689 (2000) (emphasis added).

  8           92.     The State Bar of California's Committee on Mandatory Fee Arbitration has

  9    concluded that this billing practice can inflate legal fees by up to 30%, and courts have agreed.

 10    Welch, 480 F.3d at 948 [noting that the district court relied on the State Bar of California's

 11    Committee on Mandatory Fee Arbitration]; see also State Bar of California's Committee on

 12    Mandatory Fee Arbitration, Arbitration Advisory 98-03, Determination of a "Reasonable" Fee

 13    (June 23, 1998); State Bar of California's Committee on Mandatory Fee Arbitration, Arbitration

 14    Advisory 03-01, Detecting Attorney Bill Padding (January 29, 2003).

 15           93.     The attorney seeking to be paid has the burden of establishing that his or her fees

 16    and costs are reasonable and necessary through the use of detailed billing statements. Hensley,

 17    461 U.S. at 437; Trs. of the Dirs. Guild ofAm.-Producer Pension Benefits Plans v. Tise, 234 F.3d

 18    415, 427 (9th Cir. 2000). Requests for legal fees may be denied when "block billing" makes it

 19    impossible for the attorney to carry this burden. Leroy v. City ofHouston, 906 F .2d 1068, 1078-

 20    1080 & n.19 (5th Cir. 1990).

 21           94.     However, we have not included time billing entries of 0.30 hours or less in this

 22    category.

 23           95.     The total amount of fees that fall within Column "B" is shown in Exhibit 7B

 24    attached hereto. Again, some courts have disallowed all charges that are block-billed. Bell,

 25    supra, 82 Cal. App. 4th at 689. However, in my experience, the usual range of deductions for

 26    "block billed" time is 10% to 30%. Here, because so many of the "block billed" entries are also

 27    objectionable because they also contain vague descriptions, it is my opinion that 30% of the

 28
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   1   charges should be deducted. That is not a substantial reduction but it is a fair adjustment in my

  2    op1n1on.

  3            96.     This adjustment reduces the allowable fees as reflected below in the "Adjusted

  4    Balance" column.

  5            Previous Balance                Column "B"            Adjusted Balance

  6            $196,594.83                     -$16,344.75           $180,250.08

  7 F.       Summary of Analysis of Time Billing Entries

  8            97.    I summarize the analysis above as follows:

  9                           Exhibit G total:                       $572,481.50

 10                           Unsupported charges:                   -$20,964.00

 11                           Kaufman charges:                       -$18,197.50

 12                           Hourly rate adjustment:                -$275,528.46

 13                           Duplicative work:                      -$2,227.50

 14                           Excessive time:                         -$39,566.40

 15                           Vaguely described work:                -$19,402.81

 16                           Block Billing:                         -$16,344.75

 17                           Possible Balance of allowable fees: $180,250.08

 18           98.     It is therefore my expert opinion based upon my years of experience and the

 19    materials that I have reviewed that (if the Court finds the other necessary conditions satisfied) the

 20    firm's fee reasonable award may be $180,250.08.

 21                          VIII. THE DECLARATION OF RICHARD PEARL

 22           99.     Plaintiff has filed a July 22, 2016 Declaration by Richard Pearl in support of the

 23    instant Fee Motion. I have carefully reviewed that Declaration and respectfully offer the

 24    following observations for the Court's consideration.

 25            100.   In support of his opinion regarding reasonable hourly rates for Plaintiff's counsel,

 26    Mr. Pearl cites decisions by the U.S. District Court for the Central District of California and the

 27    Los Angeles County Superior Court. (Pearl Declaration, ~ 11.)

 28
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  1           101.     Mr. Pearl also cites to several surveys of legal rates, including a December 2015

  2   Thomson Reuters "Legal Billing Report" which surveys the rates approved for various law firms

  3   by the federal Bankruptcy Courts, a January 5, 2015 National Law Journal miicle regarding its

  4   recent rate survey, a January 13, 2014 National Law Journal article regarding its recent rate

  5   survey, the fonner 2013 3 Real Rate Repo1i Snapshot published by Ty Metrix/Legal Analytics for

  6   partners and associates in various cities, and an article published in the Wall Street Journal on

  7   April 9, 2013. (Pearl Declaration,~ 12.)

  8
                       A. Large firms
  9
 10           102.     As discussed above, it is my experience that the rates charged by larger firms are

 11   usually n1uch higher than those charged by smaller to mid-sized firms such as Leonard Carder.

 12   This fact is reflected in the Real Rate Report data discussed above and attached hereto as Exhibits

 13   2 and 3. Based on this evidence, it is my opinion that the rates charged by the following firms are

 14   not applicable to the rates sought in instant Fee Motion. Therefore, the rates charged by the

 15   following firms, which are cited by Mr. Pearl in paragraph 13 of his Declaration, are not

 16   determinative of the applicable rates in this matter. Here is his list with an indication of the size of

 17   each firm:

 18
                       Arnold Porter LLP (approximately 800 attorneys); Bingham McCutchen
 19                    (approximately 700 attorneys): Cooley LLP (approximately 800 attorneys);
                       Covington Burling (approximately 850 attorneys); Fenwick & West
 20                    (approximately 300 attorneys); Gibson Dunn & Crutcher LLP (over 1,000
                       attorneys); Greenberg, Traurig LLP (approximately 1,800 attorneys); Irell &
 21                    Manella (over 220 attorneys); Jones Day (more than 2,400 attorneys); Kirkland &
                       Ellis (over 1,500 attorneys); Latham & Watkins (approximately 2,000 attorneys);
 22                    Lieff Cabraser Heimann & Bernstein, LLP (over 50 attorneys); Manatt, Phelps &
                       Phillips (over 330 attorneys); McKenna Long & Adridge LLP (approximately 575
 23                    attorneys); Morrison Foerster LLP (more than 1,000 attorneys); O'Melveny &
                       Myers (approximately 700 attorneys); Orrick Herrington & Sutcliffe (over 1,100
 24                    attorneys); Paul Hastings LLP (over 900 attorneys); Pillsbury Winthrop Shaw
                       Pittman LLP (approximately 700 attorneys); Quinn Emanuel Urquhart & Sullivan
 25                    (approximately 700 attorneys); Reed Smith LLP (more than 1,800 attorneys);
                       Sheppard, Mullin, Richter & Hampton (approximately 750 attorneys); Skadden,
 26                    Arps, Slate, Meagher & Flom (approximately 2,000 attorneys); Wilson Sonsini
 27
      3
       There was a 2014 Real Rate Report and a much more detailed 2015 Real Rate Report available at that time that Mr.
 28   Pearl signed his Declaration.
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   1                   Goodrich & Rosati PC (approximately 670 attorneys); and Zelle Ilofn1ann Yoelbel
                       & Mason, LLP (approximately 80 atton1eys ).
  2

  3                        Non-Employment Firms

  4
               103.    As reflected in the complete copy of the 2015 Real Rate Report attached hereto as
  5
       Exhibit 2, hourly rates also vary significantly depending on the practice area at issue. Therefore,
  6
       the rates charged by the following firms that do not practice Labor & Employment law, which are
  7
       also cited by Mr. Pearl in paragraph 13 of his Declaration, are not determinative of the applicable
  8
       rates in this tnatter. I list each firm with an indication of the firms' specialty:
  9
                       Cohelan Khoury & Singer (specializing in class action and complex litigation);
 10                    Greines, Martin, Stein & Richtand (appellate specialists); Hausfeld LLP (Antitrust
                       Law specialists); Kaye, Mclane, Bednarski & Litt (specializes in civil rights and
 11                    criminal defense); Knapp, Petersen & Clarke (specializing in bankruptcy litigation
                       banking litigation, insurance coverage, corporate and transactional matters); and
 12                    Law Office of Carol Sobel (civil rights specialist).

 13
                       C. Employment Firms
 14
 15            104.    Therefore, of all the firms cited by Mr. Pearl, the only firms that are even

 16    potentially applicable to the rates sought by the instant Fee Motion are those listed for the

 17    following eight firms:

 18
                       Alexander, Krakow & Glick LLP; Altshuler Berzon LLP; Hadsell, Stormer,
 19                    Richardson & Renick LLP; Kingsley & Kingsley; Kiesel, Boucher, Larson LLP;
                       Litt, Estuar, & Kitson, LLP; Schonbrun, DeSimone, Seplow, Harris & Hoffman
 20                    LLP; and Spiro Moore LLP.
 21            105.    However, the rates listed by Mr. Pearl for these firms are not rates that are actually

 22    charged for non-contingent Labor & Employment cases. Rather, the cited rates include

 23    multipliers that have been awarded by the courts on contingency fee matters. Therefore, the rates

 24    set forth in the Pearl Declaration include multipliers which are typically 1.2 or 1.3, and thus do

 25    not reflect the true rates charged by these firms, who often handle Labor and Employment cases

 26    on a contingency basis.

 27            106.    Furthermore, the very few Labor and Employment firms listed by Mr. Pearl

 28    constitute an extremely limited sample size which is much too small to have any meaning with
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   1   respect to the detennination of the prevailing non-contingent rates in the Los Angeles con11nunity.

  2    Rather, the much more reliable source for such inforn1ation is the 495 examples of actual rates

  3    shown on page 128 of the 2015 Real Rate Repo1i attached hereto as Exhibit 3.

  4            107.   I must therefore respectfully disagree with the position that Leonard Carder's

  5    reasonable rates n1ay be determined by the sources set forth in the Pearl Declaration. My opinion

  6    is based on the fact that Mr. Pearl's anecdotal info1n1ation, the few cited court decisions, the

  7    surveys, and the published articles are not an adequate basis for detem1ining the reasonable rates

  8    for Leonard Carder in the Los Angeles community for Labor & Employment litigation.

  9    Furthennore, the rates purportedly charged by the other law firms listed above are not applicable

 10    to Leonard Carder for the reasons set forth above.

 11            108.   In paragraph 12 of his Declaration, Mr. Pearl states:

 12                   The 2013 Real Rate Report Snapshot published by Ty Metrix/Legal Analytics
                      summarizes the "real rates" for partners and associates in various cities. A copy of
 13                   the relevant pages is attached hereto as Exhibit E.

 14            109.   That is a superseded and much smaller Report where the listing for partners and

 15    associates in that Exhibit does not even include the Los Angeles area and does not reflect any

 16    particular practice area. It is also two iterations behind the current 2015 Real Rate Report which

 17    has much deeper data on Labor & Employment litigation in Los Angeles. Citing to this outdated

 18    and less comprehensive version is not helpful for making a reasonable determination of the

 19    proper hourly rates for Leonard Carder in this matter.

 20           110.    Furthermore, relying on the 2013 Real Rate Report is not appropriate for an expert

 21    who should not be serving as an advocate for the moving party. That 2013 iteration was not as

 22    detailed as the 2014 and the 2015 Real Rate Report, and the 2013 version does not even have the

 23    most recent data. It was obviously superseded by both the 2014 and 2015 versions.

 24           111.    As discussed fully above, I have instead chosen to rely on the 2015 Real Rate

 25    Report, which reflects applicable rates for litigation in Los Angeles area for attorneys at similar

 26    sized firms engaged in the Labor and Employment practice area. The entire 2015 Report is

 27    attached as Exhibit 2 As explained fully above, it is my opinion that the rates reflected in

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   1   Exhibits 3 and 4 attached hereto accurately reflect the reasonable rates for Leonard Carder in the

   2   instant Los Angeles Labor & Employ1nent litigation.

   3             112.   Mr. Pearl's Declarations filed in other 1natters also cite to the same exan1ples as

   4   those discussed above, which are many years old and outdated. The n1ajority of then1 were never

   5   useful in order to evaluate the appropriate rates charged by small to mid-sized firms, and they are

   6   clearly not controlling here given the in1peccable data regarding the actual, non-contingent rates

   7   that are currently being paid for similar Labor and Employtnent n1atters as reflected in the 2015

   8   Real Rate Report.

  9              113.   In addition to his inappropriate cherry-picking of inapplicable sources, Mr. Pearl

 10    steps far into an advocacy role in paragraphs 18 to 28 of his Declaration when he offers his

 11    opinions regarding an appropriate multiplier for this matter. Rather than being a 1natter for expert

 12    opinion, this issue is the province of the advocates for each side to argue and for the Court to

 13    decide.

 14                                                IX.      COSTS

 15              114.   Leonard Carder also seeks "to recover $17,525.66 in out-of-pocket costs they

 16    advanced to successfully litigate the case." (Fee Motion, page 10:13-15.) I have therefore

 17    analyzed the cost items filed in support of the Fee Motion, which are attached to the Keating

 18    Declaration as Exhibit J.

 19              115.   Attached hereto as Exhibit 10 is a three-page Excel spreadsheet reflecting my

 20    analysis of the non-statutory "costs" sought by the Fee Motion. The vast majority of these

 21    charges (about $12,000) are related to traveling down from Oakland to the Court. In my opinion,

 22    the charges for traveling from Oakland to Los Angeles and for lodging in Los Angles were not

 23    necessary. That is because a party seeking to recover for the use of non-local counsel must show

 24    that hiring local counsel was "impracticable." (Horsford v. Board of Trustees of California State

 25    University (2005) 132 Cal. App. 4th 359, 399 ["the policies of the FEHA attorney fees provision

 26    require that the court consider awarding market value compensation for an attorney who is from a

 27    higher fee market, if the plaintiffs demonstrate, as they did here, that hiring local counsel was

 28    impracticable."].) However, Plaintiff has made no such showing in the Fee Motion. Because of
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         1   the enormous size of the Los Angeles legal market for Labor & Employment lawyers, it is my

         2   opinion that it was not "impracticable" for the Plaintiff to hire local counsel. I have therefore

         3   adjusted the hourly rates of Plaintiff's counsel to the prevailing rates in Los Angeles as discussed

         4   above. I likewise believe that additional "costs" incurred solely because Plaintiff chose to retain

         5   non-local counsel were not necessarily incurred and therefore should not be shifted to the

         6   Defendant.

         7              116.       It is long-settled law that the attorney seeking to be paid has the burden of

         8   establishing that his or her fees and costs are reasonable and necessary through the use of detailed

         9   billing statements. (Hensley v. Eckerhart, supra, 461 U.S. at 43 7, Trustees v. Tise, supra, 234

        10   F.3d at 427.) I have analyzed each cost item sought by the Plaintiff in the total amount of

        11   $17,525.66. Of this amount, it is 1ny opinion that $5,629.63 of such costs appear to be reasonable

        12   and adequately supported. However, the remaining $11,896.03 of such costs reflect unnecessary

        13   travel expenses incurred by Plaintiff as the result of his decision to hire non-local counsel when

        14   the Los Angeles area has many very qualified lawyers who could have very ably represented him

        15   in this matter.

        16                                                X.     CONCLUSION

        17              117.       Assuming (without conceding) that the Court finds that the plaintiff is entitled to a

        18   fee recovery, it is my opinion that the amount of fees and costs that were reasonable and

        19   necessary for the legal services rendered in this case may be as follows:

        20              Fees                      Costs                          Total

        21              $180,250.08.              +$5,629.63                     $185,879.71

        22              I declare under penalty of perjury under the laws of the United States of America that the

        23   foregoing is true and correct.

        24              Executed on August 26, 2016 at Los Angeles, California.

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        26
        27
        28
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